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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

NICOLAS TALBOTT et al.,                         )
                                                )
      Plaintiffs,                               )
                                                )
v.                                              )        Civil Action No. 1:25-cv-240-ACR
                                                )
UNITED STATES OF AMERICA et al.,                )
                                                )
      Defendants.                               )
                                                )

          INDEX OF EXHIBITS TO DECLARATION OF MICHAEL HALEY

                    “Health info wiped from federal websites following Trump order
     Exhibit A
                    targeting transgender rights,” dated January 31, 2025
                    “DOJ ordered review of ‘gender ideology’ compliance at child safety
     Exhibit B
                    authority,” dated February 7, 2025
                    “Mentions of trans kids scrubbed from national child safety
     Exhibit C
                    clearinghouse website,” dated February 7, 2025
                    “Government agencies scrub LGBTQ web pages and remove info about
     Exhibit D
                    trans and intersex people,” dated February 3, 2025
                    “Federal government scrubs transgender language from websites,”
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                    dated February 4, 2025
                    “C.D.C. Site Restores Some Purged Files After ‘Gender Ideology’ Ban
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                    “Trump Is Purging Federal Websites of LGBTQ+ Content. Here’s
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                    What’s Been Affected So Far,” dated February 7, 2025
                    “Army museum covers display honoring transgender soldiers,” dated
     Exhibit H
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     Exhibit I      “The NSA's ‘Big Delete,’” dated February 10, 2025
                    “They trained on diversity under Trump. Now he’s punishing them for
     Exhibit J
                    it,” dated February 7, 2025
                    “‘Transgender’ and ‘queer’ erased from Stonewall Uprising national
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